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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 STATE NATIONAL INSURANCE
 COMPANY,
                     Plaintiff,                                    20-CV-6384 (JPO)

                     -v-                                                ORDER

 TRAVELERS PROPERTY CASUALTY
 COMPANY OF AMERICA,
                     Defendant.


J. PAUL OETKEN, District Judge:

       The Court has been informed that the parties have reached a settlement in principle of

this case. Accordingly, it is hereby ORDERED that this action is DISMISSED without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within thirty days.

       All filing deadlines and conference dates are adjourned sine die.

       SO ORDERED.

Dated: November 9, 2020
       New York, New York

                                                 ____________________________________
                                                            J. PAUL OETKEN
                                                        United States District Judge
